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                                                 THE CITY OF NEW YORK
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                                                                                      April 1, 2020
          By ECF
          Honorable Vernon S. Broderick
          United States District Court
          Southern District of New York
          Thurgood Marshall Courthouse
          40 Foley Square
          New York, New York 10007

                      Re:   Marlene Aloe v. City of New York, et al.
                            18-civ-06090 (VSB)

          Your Honor:

                  I represent defendant The City of New York in this action. In accordance with the Court’s
          January 9, 2020 order, motions for summary judgement in this case were to be filed by March 2,
          2020, opposition briefs were to be filed by March 30, 2020, and reply briefs were to be filed by
          April 13, 2020. The City timely filed its motion; plaintiff didn’t. This letter is written to advise
          the Court that this Office has not received plaintiff’s opposition papers, and has not received any
          requests for any extensions of time to oppose its motion. Accordingly, the City respectfully
          requests that the Court consider its motion fully submitted, without opposition to the relief
          sought.

                  I am also requesting that the Court waive the requirement in the Court’s Individual Rule
          and Practice, ¶ 4E that the movant provide courtesy copies of the motion papers in a binder. As
          the Court is aware, the country is currently grappling with the COVID-19, or coronavirus,
          pandemic. On March 20, 2020, Governor Andrew Cuomo issued an executive order mandating
          that all non-essential businesses in New York State close, and that New York residents stay
          inside their homes unless participating in an essential activity. Accordingly, the New York City
          Law Department is requiring all non-essential law employees work from home, me included,
          and I do not have the resources to copy, hole punch, put our motion papers in a tabbed binder
          and deliver them. Given this, it is not possible, at this time, for this Office to provide the Court
          with courtesy copies of its motion papers in the Court’s preferred format, and we seek the
          Court’s guidance as to how to proceed in this regard.
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       Finally, while plaintiff has filed a notice of motion and declaration in support of her
contemplated motion for summary judgment (thought not timely), defendant has not received
any further documents, including a memorandum of law or Rule 56.1 Statement. Absent such
papers, defendant has not filed any opposition thereto because there is nothing to oppose.
Accordingly, the court should deem plaintiff’s motion as abandoned.

       The City thanks the Court for its consideration herein.

                                                    Respectfully submitted,
                                                    /s/ Katherine J. Weall
                                                    Katherine J. Weall
                                                    Senior Counsel
                                                    Special Federal Litigation Division

cc:    Pamela S. Roth, Esq., (by ECF)
       Attorney for Plaintiff




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